            Case 2:20-mj-01000 Document 1-1 Filed 06/15/20 Page 1 of 3




                                          AFFIDAVIT

       I, Joshua J. Hubiak, hereby depose and state as follows:

I.     Introduction

        1.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and have
been so employed since May 2011. I am currently assigned to the Philadelphia Division of the
FBI, Cyber National Security Squad. In this capacity, I am charged with investigating possible
violations of federal criminal law, specifically those involved with cybercrimes. By virtue of my
FBI employment, I perform and have performed a variety of investigative tasks, including
functioning as a case agent on cyber national security cases. I have received training in the
conduct of computer crime investigations. I have also received training and gained experience in
interviewing and interrogation techniques, the execution of federal search warrants and seizures,
and the identification and collection of computer-related evidence. In addition, I have personally
participated in the execution of federal search warrants involving the search and seizure of
computer equipment. Prior to my employment with the FBI, I was a Software Engineer and
Database Administrator for several companies over the span of 17 years. Additionally, I
received my Bachelor of Science degree in Computer Science, which covered a wide array of
topics including, but not limited to, networking, software design and engineering, and database
design and implementation.

        2.      The information in this affidavit is drawn from my personal knowledge and that
of other agents and police officers. This affidavit is submitted for the purpose of describing
probable cause to arrest PETER FRATUS for violating Title 18, United States Code, Section
875(c). Section 875(c) provides: “Whoever transmits in interstate or foreign commerce any
communication containing any threat to kidnap any person or any threat to injure the person of
another, shall be fined under this title or imprisoned not more than five years, or both.”

II.    Background

        3.      On May 25, 2020, George Perry Floyd, Jr., an African-American male, was
killed in Minneapolis during an encounter with police officers. Several police officers were
subsequently charged with murder in connection with Mr. Floyd’s death. Mr. Floyd’s death was
recorded and that video was widely disseminated over the internet. His death in police custody
precipitated several weeks of demonstrations in Philadelphia and many other locations
throughout the United States, some of which involved violence and property destruction,
including violence aimed at police officers and arsons of police property.

        4.     Danielle Outlaw is the Commissioner for the Philadelphia Police Department, a
role she assumed on February 10, 2020. Commissioner Outlaw, who is African-American, is in
charge of more than 6,000 sworn law enforcement officers and civilian personnel in the City of
Philadelphia, Pennsylvania.
            Case 2:20-mj-01000 Document 1-1 Filed 06/15/20 Page 2 of 3




III.   The Threats

        5.     On Saturday, June 6, 2020, an individual, later identified as PETER FRATUS,
sent two emails to the Philadelphia Police Commissioner’s email address. 1 Both emails were
sent from email address “617slave2btrained@gmail.com” with the username “Kevin
Johnson”. The first email contained subject “Answer the phone” with body “Calling the police
now for an emergency. No answer. Dirty nigger! Find a nigger hang a nigger. Jews into the
ovens!!!” The second email contained subject “Find a nigger kill a nigger” with body “Where
does police chief live?”

       6.     The header information of both emails showed that the emails were sent from an
iPhone with IOS 13.5.1 and that both emails were sent from Comcast IP address 174.63.29.163.
Upon investigation, IP address 174.63.29.163 resolved to Comcast Cable Communications in
Barnstable, MA. The email address “617slave2btrained@gmail.com” was associated with two
Skype accounts: (a) User Name: live:617slave2btrained, Display Name: 617slave2btrained and
(b) User Name: stupidcunt617, Display Name: Stupid Cunt.

       7.      On June 8, 2020, pursuant to a subpoena, Comcast provided subscriber
information for IP address 174.63.29.163. The subscriber of this account was Person #1 of West
Dennis, MA, later identified as a person who lived at the same address as PETER FRATUS.

        8.      On June 8, 2020, pursuant to court order, Apple provided subscriber information
for the user of IP address 174.63.29.163 as PETER FRATUS, of West Dennis, MA.

        9.       Based upon the information obtained from Comcast and Apple, on June 8, 2020,
FBI agents, Massachusetts State Police officers, and local police officers interviewed PETER
FRATUS at his home in West Dennis, Massachusetts. Prior to the interview, the Massachusetts
State Police advised the FBI that FRATUS had threatened a Massachusetts government official
by, inter alia, leaving voicemails on the public official’s phone during which he allegedly
threatened to slit the public official’s throat. During the June 8, 2020 interview, Fratus initially
denied sending the threatening e-mails. He later admitted that he sent the threatening messages
to the Philadelphia Police Commissioner and the Massachusetts public official. FRATUS
admitted that he “crossed the line.”




1
       Per the email header information, the emails were sent at approximately 03:18 and 03:19
on June 7, 2020, UTC.
                                                  2
            Case 2:20-mj-01000 Document 1-1 Filed 06/15/20 Page 3 of 3




V.     Conclusion

        Based on the above I believe probable cause exists to charge PETER FRATUS with
violating Title 18, United States Code, Section 875(c), for transmitting in interstate commerce
any communication containing any threat to injure the person of another, that is, the Philadelphia
Police Commissioner on June 6, 2020, with knowledge that the communication would be viewed
as a threat.


                                                                   /s/ Joshua J. Hubiak
                                                            Joshua J. Hubiak
                                                            Special Agent
                                                            Federal Bureau of Investigation


SWORN BEFORE ME THIS 15th DAY OF JUNE, 2020
BY THE COURT:



       /s/ The Honorable Marilyn Heffley
HONORABLE MARILYN HEFFLEY
United States Magistrate Judge




                                                3
